






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



ROGELIO PORRAS,


                            Appellant,


v.



THE STATE OF TEXAS,


                            Appellee.
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No. 08-09-00163-CR



Appeal from the


409th Judicial District Court


of El Paso County, Texas 


(TC# 20080D05650) 



MEMORANDUM  OPINION


	Rogelio Porras attempts to appeal his conviction for aggravated assault.  Finding that
Appellant has no right to appeal, we dismiss the appeal.

	Rule 25.2(a)(2) governs the defendant's right to appeal in a criminal case:

	A defendant in a criminal case has the right of appeal under Code of Criminal
Procedure article 44.02 and these rules.  The trial court shall enter a certification
of the defendant's right of appeal in each time it enters a judgment of guilt or
other appealable order.  In a plea bargain case--that is, a case in which a 
defendant's plea was guilty or nolo contendere and the punishment did not exceed
the punishment recommended by the prosecutor and agreed to by the defendant--a
defendant may appeal only:


		(A)	those mattes that were raised by written motion filed and ruled on
before trial, or


		(B)	after getting the trial court's permission to appeal.


Tex.R.App.P. 25.2(a)(2).


	Appellant filed a timely pro se notice of appeal on June 12, 2009.  On June 26, 2009, this
Court received a copy of the trial court's certification of Appellant's right to appeal.  The
certification states that Appellant's case was a plea-bargain case, and that Appellant has no right
to appeal.  By letter dated June 30, 2009, the clerk of this Court notified Appellant's appointed
counsel that the certification indicated that Appellant had no right of appeal in this case and
requested a response.  Appellant's attorney  has responded to the Court's notice and has agreed
that Appellant voluntarily waived his right to appeal when he entered the plea bargain.  
Accordingly, the appeal is dismissed.



August 12, 2009

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, and Rivera, JJ.


(Do Not Publish)


